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&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-09-00684-CV

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&nbsp;

YVONNE THOMAS, Appellant

&nbsp;

V.

&nbsp;

MY LE MANAGEMENT, Appellee

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&nbsp;

On Appeal from County Civil Court at
Law No. 3

Harris County, Texas

Trial Court Cause No. 941,832

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&nbsp;

M E M O R
A N D U M &nbsp;&nbsp;O P I N I O N

This is an appeal from a judgment signed July 28, 2009. The
notice of appeal was filed on July 28, 2009. To date, our records show that
appellant has neither established indigence nor paid the $175.00 appellate
filing fee. See Tex. R. App. P. 5
(requiring payment of fees in civil cases unless indigent); Tex. R. App. P. 20.1 (listing requirements for
establishing indigence); see also Order Regarding
Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals and
Before the Judicial Panel on Multidistrict Litigation, Misc. Docket No. 07-9138
(Tex. Aug. 28, 2007) (listing fees in court of appeals); Tex. Gov’t Code Ann.. ' 51.207 (Vernon 2005) (same). 

On December 3, 2009, this court ordered appellant to pay the
appellate filing fee on or before December 18, 2009, or the appeal would be
dismissed. Appellant has not paid the appellate filing fee. Accordingly, the
appeal is ordered dismissed. See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case because
appellant has failed to comply with notice from clerk requiring response or
other action within specified time).&nbsp; 

&nbsp;

PER CURIAM

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Panel consists of Justices
Frost, Boyce, and Sullivan.

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